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      EXHIBIT A
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AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Eastern District
                                                       __________ Districtofof
                                                                             Virginia
                                                                               __________

                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No.         MDL No. 2327
   In re: Ethicon, Inc. Pelvic Repair Systems Product                         )
                     Liability Litigation                                     )        (If the action is pending in another district, state where:
                              Defendant                                       )            Southern District
                                                                                            __________ DistrictofofWest Virginia
                                                                                                                    __________                 )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Galileo Consulting Group, Inc.
        c/o Jill Rathbun: 624 S Highland St., Arlington, VA 22204-2435
    ✔ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
    u
documents, electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
material: See Exhibit A attached.



 Place: Ashcraft & Gerel, LLP                                                           Date and Time:
           2000 L Street, NW, Suite 400                                                                       08/30/2013 9:00 am
           Washington, DC 20036

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:




        The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
attached.

Date:         08/01/2013

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ P. Leigh O'Dell
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail, and telephone number of the attorney representing (name of party)          Plaintiffs
                                                                        , who issues or requests this subpoena, are:
P. Leigh O'Dell, Beasley, Allen, Crow, Methvin, Portis, & Miles, P.C., 234 Commerce St., Montgomery, AL 36104;
leigh.odell@beasleyallen.com; 334-269-2343.
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AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. MDL No. 2327

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                   .

          u I served the subpoena by delivering a copy to the named person as follows:


                                                                                               on (date)                               ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                                     .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc:
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                      EXHIBIT A TO SUBPOENA FOR PRODUCTION
                    OF DOCUMENTS TO GALILEO CONSULTING, INC.


                                         DEFINITIONS

       1.        For purposes of this subpoena and the Requests contained herein, the following

terms shall have the following meanings:

            a.    “Galileo,” "You," and "Your" refers to Galileo Consulting, Inc., and any of its

predecessors in interest, successors in interest, parent-companies, subsidiaries, divisions,

subdivisions, affiliates, officers, directors, employees, representatives, independent

contractors, consultants, or agents, whether present or former, including attorneys and

accountants.

            b. “The Pelvic Health Coalition,” “PHC,” “Prolapse Working Group,”

“Prolapse Repair Coalition,” and/or “Prolapse Reimbursement Coalition,” refers to The

Pelvic Health Coalition, and any of its predecessors in interest, successors in interest, parent-

companies, subsidiaries, divisions, subdivisions, affiliates, officers, directors, employees,

representatives, independent contractors, consultants, or agents, whether present or former,

including attorneys and accountants.

            c. “Ethicon” refers to Ethicon, Inc. and any of its predecessors in interest,

successors in interest, parent companies, subsidiaries, divisions, subdivisions, affiliates,

officers, directors, employees, representatives, independent contractors, consultants, or agents,

whether present or former, including attorneys and accountants.

            d. "Communication" means the transmittal of information (in the form of facts,

ideas, inquiries, or otherwise).




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           e. "Concerning" means relating to, referring to, describing, evidencing,

embodying, or constituting.

           f. “Document" is defined to be synonymous in meaning and equal in scope to the

usage of this term in Federal Rule of Civil Procedure 34(a), including, without limitation,

electronic data or computerized data compilations including all information that serves to

identify, locate, or link such material, such as file inventories, file folders, indices, and Metadata.

This term also refers, without limitation, to the original and all copies, prior drafts and

translations, written, printed, typed, photostatic, photographed, recorded, or otherwise

reproduced communications, data compilations, or representations of every kind, whether

comprised of letters, words, numbers, pictures, sounds, or symbols, whether prepared by manual,

mechanical, electronic, magnetic, photographic, or other means, as well as audio, video or other

recordings of communications, oral statements, conversations, or events. Furthermore, this term

includes, but is not limited to, any and all of the following: correspondence, notes, minutes,

records, messages, memoranda, telephone memoranda, diaries, contracts, agreements, invoices,

orders, acknowledgements, receipts, bills, statements, appraisals, reports, forecasts, compilations,

schedules, studies, summaries, analyses, pamphlets, brochures, advertisements, news articles,

tables, tabulations, financial statements, working papers, tallies, maps, drawings, diagrams,

pictures, film, microfilm, microfiche, computer-stored or computer-readable data, computer

programs, computer printouts, telegrams, telexes, facsimiles, tapes, transcripts, recordings, and

all other sources or formats from which data, information, or communications can be obtained. A

draft or non-Identical Copy is a separate document within the meaning of this term.

           g. "Electronic data" or "data" means the original (or identical duplicate when the

original is not available), and any non-Identical Copies of writings and data compilations in



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any form, and of every kind and description, including electronically stored information or

“ESI”, whether inscribed by mechanical, facsimile, electronic, magnetic, digital, or other

means. Electronic data includes, but is not limited to, computer programs (whether private,

commercial, or work-in-progress), programming notes or instructions, activity listings of

electronic mail receipts and transmittals, output resulting from the use of any software program,

including word processing files generated using programs such as Word or WordPerfect;

spreadsheets and tables such as Excel or Lotus 123 worksheets; accounting application

data such as QuickBooks, Money, or Peachtree data; databases such as Access, Oracle, SQL

Server data, or SAP;       charts, graphs and outlines; electronic mail and other digital

communications such as e-mail, voicemail and instant messaging; images and facsimile files;

sound recordings such as .WAV and .MP3 files; video and animation such as AVI and .MOV

files; contact and relationship management data such as Outlook and ACT; calendar and diary

application data such as Outlook PST and blog entries; online access data such as Temporary

Internet Files, History and Cookies; presentations such as PowerPoint and Corel Presentations;

network access and server activity logs; project management application data; computer aided

design/drawing files; backup and archival files such as VERITAS, Zip and .GHO; operating

systems, source code of all types, peripheral drivers, PIF files, batch files, ASCII files, and any

and all miscellaneous files and file fragments, regardless of the media on which they reside and

regardless of whether    said electronic data consists in an active file, deleted file or file

fragment. Electronic data also includes any and all items stored on computer memories, hard

disks, floppy disks, CD-ROMs, e-mail server stores such as Lotus Domino .NSF or

Microsoft Exchange .EDB, removable media such as Zip disks, Jaz cartridges, Bernoulli

Boxes and their equivalent, magnetic tapes of all types, microfiche, punched cards, punched



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tape, computer chips, including, EPROM, PROM, RAM and ROM, on or in any other vehicle

for digital data storage and transmittal. Furthermore, the term electronic data includes the file,

folder tabs and containers and labels appended to, or associated with, any physical storage device

associated with each original and copy.

           h. "Electronic media" means any magnetic or other storage media device used to

record electronic data.   Electronic media devices include, but are not limited to, computer

memories, hard disks, floppy disks, CD-ROM, removable media such as Bernoulli Boxes

and their equivalent, magnetic tapes of all types, microfiche, punched cards, punched tape,

computer chips, including, EPROM, PROM, RAM and ROM, or on or in any other vehicle for

digital data storage and transmittal.

           i. "Identical Copy" means:

                   i. A full and complete copy of the original Document that does not

differ from the original paper Document because of highlights, comments, annotations,

marks, transmission notations, underlining, marginalia, total pages, attachments, notes,

markings or other alterations of any kind.          Each such differing copy shall itself be

considered an original paper Document and not an Identical Copy. For example, where

there are two documents with identical content but one has highlighting and the other

does not, in such a situation, the two documents shall not be considered identical.

                   ii. An electronic Document that is a copy of the original electronic

Document including Metadata. Identical copies of the original electronic Document will

generate the same MD5 Hash value. For example, and Identical Copy would include copies of

the same Document saved on an individual custodian’s local hard drive or an accessible network




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shared drive. An Identical Copy would not include copies of the same Document found in two

individual custodians’ produced Documents.

             j. "Including" or "includes" means including, without limitation.

             k. “IFU” means Information for Use.

             l. "Metadata" means: (i) information embedded in or associated with a native

file that is not ordinarily viewable or printable from the application that generated,

edited, or modified such native file which describes the characteristics, origins, usage

and/or validity of the electronic file; and/or (ii) information generated automatically by

the operation of a computer or other information technology system when a native file is

created, modified, transmitted, deleted or otherwise manipulated by a user             of such

system.

       m.       "Person" means any natural person or any business, legal, or governmental

entity or association.

       2.       The following rules of construction apply to all discovery requests:

             a. The terms "all" and "each" shall be construed as all and each;

             b. The connectives "and" and "or" shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of the discovery request all responses that

might otherwise be construed to be outside of its scope;

             c. The use of the singular form of any word includes the plural and vice

versa; and

             d. Requests that are stated in the present tense include the past tense and

those in the past tense include the present tense.




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                                           INSTRUCTIONS

           1.      Each Request refers to documents in the custody, control, and possession of

Galileo, as well as in the custody, control, and possession of or known to Galileo’s counsel,

representatives, agents, servants, investigators, contractors, and consultants, and unless

otherwise privileged, their counsel, employees, representatives, agents, servants, investigators,

contractors, and consultants.

           2.      If any document responsive to these requests is unavailable, because it was lost,

altered, deleted, or destroyed by Galileo, or its agents, or for any other reason, Galileo shall

fully identify the document and also state:

                a. When and where it was lost, altered, deleted, or destroyed, or why it is otherwise

                   unavailable;

                b. The name and address of each person who lost, altered, deleted, or destroyed it,

                   or who otherwise caused it to be unavailable;

                c. The name and address of each person who directed, approved, or knew of its

                   alteration, deletion, or destruction, and

                d. The name and address of each person who has knowledge of this document.

           3.      If you cannot produce a document that is responsive to these requests for any

other reason, please respond to the extent possible, stating each reason why you cannot respond

in full.

           4.      These requests shall be deemed to be continuing, to the full extent required or

permitted under the Federal Rules of Civil Procedure, so as to require supplementary

production when Galileo or its agents obtain access, custody, possession, or control of any

document not previously produced, which is responsive to any of these Requests.


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       5.      Pursuant to FRCP 26(b)(5), any document        falling within the scope of this

Request that is withheld on the basis of a claim of privilege, work product, or any other ground

is to be identified in writing and must include: a statement of the ground alleged for withholding

such document; the Bates range of the document; its date; the identity of its author, recipients,

and signatories; the type of document (e.g., letter); a summary of its contents; its present

location; and, its custodian(s). Notwithstanding the assertion of an objection, any purportedly

privileged document containing non-privileged matter must be disclosed with the purportedly

privileged portion redacted, with the redacted portion indicated on the document itself and listed

on the privilege log to be provided pursuant to this paragraph.

       6.      Documents are to be produced in full and in their unexpurgated form.

Redacted documents shall not constitute compliance with these Requests, unless such

documents are properly redacted pursuant to a valid claim of privilege or work product as set

forth in paragraph 5 above.

       7.      All documents produced in response to these Requests shall be organized and

labeled either to correspond with the number of the specific request to which the documents are

responsive or shall be produced in the order, format, and manner in which they are kept in the

usual course of business.

       8.      Unless otherwise set forth, the relevant time-period for each Request is from the

beginning of time to the present.

                              DOCUMENTS TO BE PRODUCED

       1.      Policies, procedures, rules and/or guidelines regarding Your document and record

management, including the retention, storage and/or destruction of relevant (or potentially




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relevant) documents for such time that there exists a reasonable expectation of foreseeable

litigation in connection with such documents.

       2.      Any and all documents, communications, invoices, agreements, or other

documents between You and Ethicon related to products and/or procedures used in the treatment

of pelvic organ prolapse and/or stress urinary incontinence.

       3.      Any and all documents, communications, invoices, agreements, or other

documents between You and the American Congress of Obstetricians and Gynecologists

(ACOG) on the behalf of and/or for PHC and/or Ethicon.

       4.      Any and all documents or communications between You and the PHC and/or

Ethicon regarding ACOG Practice Bulletin no. 79 (February 2007), ACOG Practice Bulletin no.

85 (September 2007), and/or any other ACOG publications regarding procedures and/or products

used in the treatment of pelvic organ prolapse and/or stress urinary incontinence.

       5.      Any and all documents, communications, invoices, agreements, or other

documents that relate to You and the PHC and/or Ethicon and concern hospital reimbursement

for procedures and/or products used in the treatment of pelvic organ prolapse and/or stress

urinary incontinence.

       6.      Any and all documents that relate to Your efforts or activities on behalf of the

PHC and/or Ethicon to influence hospital reimbursement for procedures and/or products used in

the treatment of pelvic organ prolapse and/or stress urinary incontinence. This requests includes

both in-patient and out-patient procedures.

       7.      Any and all rosters, lists, registers, or indexes that identify the entities and/or

individuals who comprise the PHC from formation to the present day.




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       8.       Any and all documents, notes, minutes, memoranda, presentations, agendas, or

summaries, relating to, or in any way pertaining to, meetings of the PHC. This request includes,

but is not limited to, in-person meetings, video conferences, and/or telephone conference calls.

       9.       Any and all documents, notes, minutes, memoranda, presentations, agendas, or

summaries, relating to, or in any way pertaining to a meeting of the PHC which took place on

May 10, 2006.

       10.      Any and all documents that relate to communications between You and Jill

Rathbun concerning the PHC and/or Ethicon and products and/or procedures used in the

treatment of pelvic organ prolapse and/or stress urinary incontinence.

       11.      Any and all documents related to agreements, contracts, invoices, or purchase

orders between You and Galileo Consulting, Inc. in relation to the PHC and/or Ethicon and

products and/or procedures used in the treatment of pelvic organ prolapse and/or stress urinary

incontinence.

       12.      Any and all documents related to communications, agreements, contracts,

invoices, or purchases orders between You and Gail Daubert in relation to the PHC and/or

Ethicon and products and/or procedures used in the treatment of pelvic organ prolapse and/or

stress urinary incontinence.

       13.      Any and all documents related to communications, agreements, contracts,

invoices, or purchases orders between You and Reed Smith LLP in relation to the PHC and/or

Ethicon and products and/or procedures used in the treatment of pelvic organ prolapse and/or

stress urinary incontinence.




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       14.     Any and all documents that relate to communications between You and Vincent

R. Lucente, M.D. concerning the PHC and/or Ethicon and products and/or procedures used in the

treatment of pelvic organ prolapse and/or stress urinary incontinence.

       15.     Any and all documents that relate to communications between You and G. Willy

Davila, M.D. concerning the PHC and/or Ethicon and products and/or procedures used in the

treatment of pelvic organ prolapse and/or stress urinary incontinence.

       16.     Any and all documents that relate to communications between You and Steven

Siegel, M.D. concerning the PHC and/or Ethicon and products and/or procedures used in the

treatment of pelvic organ prolapse and/or stress urinary incontinence.

       17.     Any and all documents that relate to communications between You and Patrick

Culligan, M.D. concerning the PHC and/or Ethicon and products and/or procedures used in the

treatment of pelvic organ prolapse and/or stress urinary incontinence.

       18.     Any and all documents that relate to communications between You and Robert

Harris, M.D. concerning the PHC and/or Ethicon and products and/or procedures used in the

treatment of pelvic organ prolapse and/or stress urinary incontinence.

       19.     Any and all documents that relate to communications between You and Dennis

Miller, M.D. concerning the PHC and/or Ethicon and products and/or procedures used in the

treatment of pelvic organ prolapse and/or stress urinary incontinence.

       20.     Any and all documents that relate to communications between You and Edward

Stanford, M.D. concerning the PHC and/or Ethicon and products and/or procedures used in the

treatment of pelvic organ prolapse and/or stress urinary incontinence.




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        21.     Any and all documents that relate to communications between You and Kristinell

Keil, M.D. concerning the PHC and/or Ethicon and products and/or procedures used in the

treatment of pelvic organ prolapse and/or stress urinary incontinence.

        22.     Any and all documents related to communications between You and the Centers

for Medicare & Medicaid Services related to the PHC, Ethicon, and/or products and/or

procedures used in the treatment of pelvic organ prolapse and/or stress urinary incontinence. This

request includes, but is not limited to, letters, emails, or drafts of letters and/or emails.

        23.     Any and all documents related to the PHC’s ICD-9 Procedure Code Application

that was submitted to the Centers for Medicare & Medicaid Services on or about July 28, 2006.

        24.     Any and all documents related to the PHC’s and/or Ethicon’s comments on the

Centers for Medicare & Medicaid Services hospital IPS proposed rule for fiscal year 2008.

        25.     Any and all documents related to the PHC’s and/or Ethicon’s efforts to encourage

or urge the implementation of the Centers for Medicare & Medicaid Services new ICD-9-CM

procedure codes which went into effect on October 1, 2007.

        26.     Any and all documents related to the drafting, editing, revision, or finalization of

training, educational, or informational materials on behalf of and/or for the PHC and/or Ethicon

for physicians concerning the reimbursement for products and/or procedures used in the

treatment of pelvic organ prolapse and/or stress urinary incontinence.

        27.     Any and all documents related to the drafting, editing, revision, or finalization of

talking points on behalf of and/or for the PHC and/or Ethicon concerning the reimbursement for

products and/or procedures used in the treatment of pelvic organ prolapse and/or stress urinary

incontinence.




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       28.     Any and all documents related to the drafting, editing, revision, or finalization of

presentations (including PowerPoint presentations) on behalf of and/or for the PHC and/or

Ethicon concerning the reimbursement for products and/or procedures used in the treatment of

pelvic organ prolapse and/or stress urinary incontinence

       29.     Any and all communications, invoices, agreements, or other documents related to

the funding, facilitating, sponsorship, writing, and/or distribution of round table discussions on

behalf of and/or for the PHC and/or Ethicon concerning reimbursement for products and/or

procedures used in the treatment of pelvic organ prolapse and/or stress urinary incontinence.

       30.     Any and all documents related to the drafting, editing, revision, or finalization of

the PHC’s October 17, 2008 letter to the Food and Drug Administration regarding the Public

Heath Notice which described serious complications associated with the transvaginal placement

of surgical mesh in repair of pelvic organ prolapse and stress urinary incontinence.

       31.     Any and all documents related to the drafting, editing, revision, or finalization of

an advisory on behalf of and/or for the PHC and/or Ethicon providing guidance to physicians

regarding informed consent in relation to the placement of transvaginal mesh for the repair of

pelvic organ prolapse and/or stress urinary incontinence.

       32.     Any and all documents related to the drafting, editing, revision, finalization, or

distribution of a patient authorization and consent form regarding procedures related to the repair

of pelvic organ prolapse and/or stress urinary incontinence on behalf of and/or for the PHC

and/or Ethicon.

       33.     Any and all documents related to the drafting, editing, revision, or finalization of

an article entitled, “Best Options, Techniques, and Coding Tips for Pelvic Prolapse Repair,”

published in the September 2007 supplement of OBG Management. This request includes, but is



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not limited to, any and all communications between you and the PHC and/or Ethicon regarding

this article.

        34.     Any and all documents related to the drafting, editing, revision, or finalization of

an article entitled, “Pelvic repair: Update on correct coding – CPT codes that cover many

aspects of pelvic prolapse surgery have changed – in ways that significantly influence how

payers reimburse you. Here are the details.” Published in October 2010 supplement of OBG

Management. This request includes, but is not limited to, any and all communications between

you and the PHC and/or Ethicon regarding this article.

        35.     Any and all documents related to agreements, contracts, invoices, or purchases

orders between You and Dowden Health Media in relation to the PHC and/or Ethicon and

products and/or procedures used in the treatment of pelvic organ prolapse and/or stress urinary

incontinence.

        36.     Any and all documents that relate to communications between You and

representatives of Dowden Health Media concerning Media in relation to the PHC and/or

Ethicon and products and/or procedures used in the treatment of pelvic organ prolapse and/or

stress urinary incontinence.

        37.     Any     and    all   documentation,      information,     analysis,    communications,

memorandum, data, summaries, reports, emails or other documents regarding services performed

by You on behalf of and/or for the PHC and/or Ethicon and relating to publications concerning

reimbursement for products and/or procedures used in the treatment of pelvic organ prolapse

and/or stress urinary incontinence. Publications for purposes of this request include peer-review

scientific literature, scientific literature, professional publications, or lay publications.




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       38.    Any and all documents pertaining to confidentiality or non-disclosure agreements

between You and the PHC and/or Ethicon.

       39.    Any and all documents evidencing any indemnification agreements between You

and the PHC and/or Ethicon.




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